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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY

                                                 |
  THE HONORABLE ORDER OF                         |     Civil Action No. 3:20-cv-00132-RGJ
  KENTUCKY COLONELS, INC.                        |
     Plaintiff                                   |
                                                 |
  vs.
                                                 |           — PROPOSED ORDER —
  KENTUCKY COLONELS                              |
  INTERNATIONAL, et.al.                          |
     Defendant(s)                                |



        Pro se Defendant Col. David J. Wright filed an application to appeal in forma pauperis

without payment of the filing fee [DE 133] on August 31, 2023 resulting in Order [DE-137]

waiving his filing fees in Circuit Court Case 23-5795. On December 13, 2023 he filed a

Supplemental Notice of Appeal for the Sixth Circuit Court of Appeals appealing

MEMORANDUM OPINION AND ORDER [DE-138] with this Court in [DE 142] under the

assumption that it would be treated as the same case. The 6th Circuit Court of Appeals

automatically docketed the Supplemental Notice of Appeal as a new appeal under Circuit Court

Case Number 23-6108 on December 20, 2023, therefore the Circuit Court formally requires a new

fee waiver for pauper status for the new filing as stated in Document 1 of Case 23-6108. On

January 22, 2024, after filing motions in the Circuit Court on January 02, 2023 followed by a

response on the part of the Plaintiff on January 08. 2024, the Defendant was encouraged to file a

Motion for Pauper Status for the additional Supplemental Notice of Appeal [DE-142] which he

mistakenly assumed would be automatically combined into the first case on appeal or that the

previous pauper motion might satisfy. On review, the Court finds Col. Wright continues to make

and meet the financial showing required to waive the appellate filing fee under Fed. R. App. P. 24.
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As required by Fed. R. App. P. 24, Wright has included a new written affidavit in his MOTION

FOR LEAVE TO FILE IN FORMA PAUPERIS that shows all the detail prescribed by the Circuit

Court’s Form 4 of the Appendix of Forms that he previously used in [DE-133]. The form states in

limited detail some of the claims and issues Wright intends to present on appeal. Both motions for

leave and affidavits show that Col. Wright’s monthly income just covers his monthly expenses and

he has no liquidable or significant financial assets, there is little to no difference at all between the

income stated in [DE-133] and [DE-145] (under $10,000 U.S. Dollars) which is at least 30%

below the poverty line of most Americans despite the poverty level for an individual increasing

from $14,580 to $15,060 in 2024 according to the U.S. Department of Health and Human

Services. There is no probable or clear evidence that he earns or receives more than the amounts

of income stated in his affidavit. Payment of the appellate filing fee would cause additional undue

hardship for the Defendant. Accordingly, IT IS ORDERED the application to proceed without

prepayment of fees as a pauper [DE 145] is GRANTED.

       As requested by the Defendant, as it may be customary with some cases subjected to de

novo review on appeal the JUDGMENTS (ORDERS) made in this CASE are STAYED and

SUSPENDED, providing INTERLOCUTORY RELIEF automatically, pending the outcome of the

Defendant’s/Appellant’s case(s) before the United States Circuit Court of Appeals for the Sixth

Circuit. FURTHER it is ORDERED that the Defendant voluntarily report any dramatic increase in

his income that exceeds 50% of his average annual or quarterly income, any discretionary grants,

gifts or donations of $5,000 or more in a single month to him or his employers and/or the

liquidation of any tangible or intangible assets which he may have a personal stake in as an author,

cooperative owner, creator, developer, and freelance writer of blogs, published works and

websites to the U.S. District Court for the Western District of Kentucky, as so ORDERED.
